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                      UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF TENNESSEE
                            WESTERN DIVISION




ELEIWA & SONS, INC., d/b/a
BEAUTY SECRET, a/k/a
BEAUTY SUPPLY,

      Plaintiff,

VS.                                                 NO. 09-2086-Ma

PEERLESS INDEMNITY INSURANCE
COMPANY, d/b/a MONTGOMERY
INSURANCE COMPANY, d/b/a
INDIANA INSURANCE COMPANY,

      Defendant.


                              JUDGMENT
     Decision by Court. This action came for consideration before
the Court. The issues have been duly considered and a decision has
been rendered.
     IT IS   ORDERED AND ADJUDGED that this action is dismissed with
prejudice,    in accordance with the Order of Dismissal, docketed
April 29,     2009.   Each party shall pay their own costs and
attorneys’   fees.


APPROVED:

S/ Samuel H. Mays Jr.
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SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

April 29, 2009                           THOMAS M. GOULD
DATE                                     CLERK
                                         S/ Jean Lee
                                         (By) DEPUTY CLERK
